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                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

JUDY PERKINS,

       Plaintiff,

vs.                                                           No. 2:21-cv-01154 MV-SMV


OFFICER PHILLIP VILLARREAL,
CITY OF ALAMOGORDO,
ALAMOGORDO POLICE DEPARTMENT,
and JOHN DOES,

       Defendants.

                    JOINT MOTION TO DISMISS IN FULL WITH PREJUDICE

       The parties, Plaintiff Judy Perkins, together with the only remaining Defendant,

Alamogordo Police Department, stipulate that they have resolved all issues that were or could have

been raised in the above captioned litigation. As such, the parties jointly move to dismiss this

lawsuit, in full, with prejudice, and shall bear their own respective costs and attorney’s fees.



                                               Respectfully Submitted:

                                               Jackson Law, LLC

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                             And by:

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